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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 08-cv-01750-BNB

UNITED FE JLeED COURT
DON LAW, DENVER, COLORADO
Appiicant SEP 16 2008
. GREGORY C. LANGHAM
CLERK

THE STATE OF COLORADO, and
THE ATTORNEY GENERAL OF THE STATE OF COLORADO,

Respondents.

ORDER DIRECTING APPLICANT TO FILE AMENDED PLEADING

Applicant, Don Law, is a prisoner in the custody of the Colorado Department of
Corrections at the Bent County Correctional Facility at Las Animas, Colorado. Mr. Law
initiated this action by filing pro se on August 18, 2008, a motion for an order to vacate
his Colorado state criminal conviction. On September 12, 2008, Mr. Law filed on the
proper form an application for a writ of habeas corpus pursuant to 28 U.S.C. § 2254.
The August 18 motion will be denied as moot because it has been replaced by the
habeas corpus application.

The court must construe the habeas corpus application liberally because Mr.
Law is not represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520-21
(1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10" Cir. 1991). However, the court
should not be an advocate for a pro se litigant. See Half, 935 F.2d at 1110. For the
reasons stated below, Mr. Law will be ordered to file an amended application for a writ

of habeas corpus.
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The court has reviewed the habeas corpus application filed in this action and
finds that the claims Mr. Law is raising are not clear. It is not even clear how many
claims are being raised because, in addition to the three claims set forth on the habeas
corpus application form, Mr. Law has attached to the application a number of pages of
additional information that may or may not include additional claims for relief. Even for
the three claims set forth on the habeas corpus application form, Mr. Law fails to
identify which of his federal constitutional rights allegedly have been violated and he
fails to set forth the specific facts that demonstrate how his federal constitutional rights
have been violated. For example, Mr. Law asserts as his second claim that there is
new evidence of material facts that requires his conviction be vacated. However, he
does not allege which of his federal constitutional rights allegedly has been violated with
respect to this new evidence and he fails to specify what the new evidence is or why the
new evidence should cause his conviction to be vacated.

Therefore, Mr. Law will be ordered to file an amended application to clarify the
claims he is raising in this action. To avoid confusion regarding what claims are being
asserted, Mr. Law should number his claims and each claim being asserted should be
identified clearly with the federal constitutional right that allegedly has been violated.
For example, if Mr. Law believes that his due process rights have been violated, as he
apparently does in connection with his first claim for relief, he should identify the claim
clearly as a due process claim.

Mr. Law also is advised that he must allege specific facts in support of each
clearly asserted claim. Rule 4 of the Rules Governing Section 2254 Cases in the

United States District Courts requires that he go beyond notice pleading. See

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Blackledge v. Allison, 431 U.S. 63, 75 n.7 (1977). Naked allegations of constitutional
violations are not cognizable under 28 U.S.C. § 2254. See Ruark v. Gunter, 958 F.2d
318, 319 (10" Cir. 1992) (per curiam). For example, if Mr. Law does assert a due
process claim, the specific reasons why he believes he was denied due process must
be stated in support of the due process claim in a clear and concise manner. The
same is true for each claim Mr. Law raises in the amended application. Accordingly, it
is

ORDERED that the “Motion Asking the Court to Vacate Conviction . . .” filed in
this action on August 18, 2008, is denied as moot. It is

FURTHER ORDERED that Mr. Law file within thirty (30) days from the date of
this order an amended habeas corpus application that complies with this order. It is

FURTHER ORDERED that the clerk of the court mail to Mr. Law, together with a
copy of this order, two copies of the following forms: Application for a Writ of Habeas
Corpus Pursuant to 28 U.S.C. § 2254. Itis

FURTHER ORDERED that, if Mr. Law fails within the time allowed to file an
amended application that complies with this order to the court's satisfaction, the action
will be dismissed without further notice.

DATED September 16, 2008, at Denver, Colorado.

BY THE COURT:

s/ Boyd N. Boland
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 08-cv-01750-BNB

Don Law

Prisoner No. 83245

Bent County Correctional Facility
11560 Road FF.75 - Unit 8R-108
Las Animas, CO 81054-9573

i hereby certify that | have mailed a copy of the ORDER and two copies of the

Application for a Writ of Habe s Corpus Pursuant to 28 U.S.C. § 2254 form to the
above-named individuals on Vie j08

GREGORY {6-fANGHAM, CLERK

Deputy Clerk

